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1                               UNITED STATES DISTRICT COURT
2
                                        DISTRICT OF NEVADA
3

4    UNITED STATES OF AMERICA,                       )
                                                     )      Case No.: 2:11-cr-00442-GMN-GWF-1
5
                          Plaintiff,                 )
6          vs.                                       )                     ORDER
                                                     )
7    ERIC TYRONE JACKSON,                            )                  (ECF No. 220)
                                                     )
8                         Defendant.                 )
9
                                                     )

10          Before the Court is Defendant Erik Tyrone Jackson’s third Motion For Order For
11   Defendant To Serve Federal Sentence Before State Sentence (ECF No. 220). This time, the
12   Defendant cites to the decision in the District of Oregon regarding a California state law in a
13   habeas petition, Cozine v. Crabtree, 15 F.Supp.2d 997 (D.Or., 1998); however, the Defendant
14   fails to provide any legal analysis or explanation as to why he believes this opinion supports his
15   request. In that case, Cozine was released because the California state court sentenced Cozine
16   to a custodial term to be served concurrently with his federal sentence while Defendant Jackson
17   admits that his Nevada state court sentence was specifically ordered to run consecutive to his
18   federal sentence.
19          Because this Court is unable to readily discern the applicability of the case referenced in
20   the motion and there appears to be no other basis for the granting of the request, Defendant’s
21   Motion (ECF No. 220) is DENIED.
22          DATED this 4th day of June, 2014.
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24                                                       _______________________________
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                                                         Gloria M. Navarro, Chief Judge
                                                         United States District Court
